Case 8:92-cr-00213-JDW-TGW Document 444 Filed 09/28/15 Page 1 of 1 PagelD 632

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA,

V. Griminal No. 92-213-CR-15-3

@: ALO U3 7 TEN

ANGEL MANUEL SANTANA,

N|- 4M Yr ULNNSHYlCUNNSH

Defendant.

 

MOTION FOR APPOINTED OF COUNSEL FOR
MOTION TO COMPEL THE UNITED STATES TO FILE A
RULE 35(b)(2)(B) MOTION TO REDUCE SENTENCE

 

COMES NOW Angel Santana, the defendant, pro se, and respectfully
moves this Honorable Court for appointment of counsel pursuant to
18 U.S.C. §3006A, to represent Defendant in the Rule 35(b)(2)(B)
proceedings. |

Defendant filed a detailed Rule 35(b)(2)(B) motion and urged
this Court to compel the United States to file a Rule 35 to reduce
the defendant's sentence due to his substantial assistance. The
Defendant has a limited command of the English language and requires
an attorney to be able to speak on his behalf in the proper legal
language. Also, this matter is a complex legal defense and Defendant
is in need of an attorney so that he may provide adequate defense of
his case. Because of these facts, this Court should appoint counsel

to represent the Defendant.

WHEREFORE, based on the above, Angel Santana urges this Court to

grant this motion and appoint counsel.

Respectfully submitted on this G/' Sk aay of Senkm her »; 20LS..
)
_Chwel M. bates

PRO sf REPRESENTATION
